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December 21, 2015

VIA ECF

The Honorable Richard M. Berinan
United States District Court
Soutliern District of Nevv York

500 Pearl Street

New York, Nevv York 10007

Re.' A.R., el al. v. City ofNew York, et al., 15 Cz'v. 9242 (RMB)
Dear Judge Berman:

l am co-counsel to Plaintiffs Dana Grottano, A.R., and N.D. in the above referenced class
action against Two proposed class representatives - A.R. and N.D. ~ Wish to proceed
anonymously. Therefore, pursuant to Your Honor’s individual rules of practice, We respectfully
request a pre-motion conference to seek leave to file a motion to proceed anonymously.
Plaintiffs also respectfully request that the Court stay this application until Defendants have had
an opportunity to appear in the case.

The City of Nevv York is illegally strip searching visitors to City jails and Plaintiffs A.R.
and N.D.’s experiences are representative A.R. Was illegally strip searched When she visited
Rikers lsland in October, 2015. N.D. Was illegally strip searched When she visited Rikers lsland
in October, 2014, and When she visited the Brooklyn House of Detention in July, 2015, and
November, 2015. As such, A.R. and N.D. bring this civil rights class action to redress the City’s
violations of the Fourth and Fourteenth Aniendnient to the United States Constitution, and the
NeW York State Constitution.

Neither A.R. nor N.D. wishes to reveal her identity because of the highly sensitive and
personal nature of their experiences N.D. and A.R. are also Worried that revealing their identity
may expose them and the individuals they visited to retaliation by prison officials Tliey are also
concerned that revealing their identity may have negative employment consequences.

ln Sealed Plaintiffv. Sealed Defendant #1 the Second Circuit set forth a non-exhaustive
list of factors to consider in assessing a motion to proceed anonymously:

(l) Whether the litigation involves matters that are highly sensitive and [of a]
personal nature; (2) Whether identification poses a risk of retaliatory physical or
mental harm to the . . . party [seeking to proceed anonymously] or even more
critically, to innocent non-parties; (3) Whether identification presents other harms
and the likely severity of those liarms, including Whether the injury litigated
against Would be incurred as a result of the disclosure of the plaintiffs identity;

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(4) whether the plaintiff is particularly vulnerable to the possible harms of
disclosure; (5) whether the suit is challenging the actions of the government or
that of private parties; (6) Whether the defendant is prejudiced by allowing the
plaintiff to press his claims anonymously, whether the nature of that prejudice (if
any) differs at any particular stage of the litigation, and whether any prejudice can
be mitigated by the district couit; (7) whether the plaintiffs identity has thus far
been kept confidential; (8) whether the public’s interest in the litigation is
furthered by requiring the plaintiff to disclose his identity; (9) Whether, because of
the purely legal nature of the issues presented or otherwise, there is an atypically
weak public interest in knowing the litigants’ identities; and (10) whether there
are any alternative mechanisms for protecting the confidentiality of the plaintiff

537 F.3d 185, 190 (2d Cir. 2008) (citations and internal quotation marks omitted).

A.R. and N.D.’s circumstances satisfy these requirements There is no question
but that this litigation involves matters that are highly sensitive and of a personal nature
and identification poses a risk of retaliation l\/loreover, since the prison environment is
highly coercive by nature ~ even for visitors - A.R. and N.D. are particularly vulnerable
to retaliatory conduct by prison personnel, as are the inmates that are associated with
them. Other factors weighing in A.R. and N.D.’s favor include that they bring this action
against a government entity; their identities have thus far remained confidential; and,
other than filing documents under seal, there are no alternative mechanisms for protecting
A.R. and N.D.’s confidentiality Defendants Will not suffer undue prejudice if A.R. and
N.D. proceed anonymously, and the public interest in the litigation will not be furthered
if they are required to disclose their identity.

We look forward to discussing these issues with the Court in more detail.

Respectfully submitted,

 

Raymond Audain

